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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:14CR3114
      vs.
                                                                ORDER
SONIA HERNANDEZ, FREDDY
HERNANDEZ JR.,
                    Defendants.


      Defendant Freddy Hernandez Jr. has moved to continue the trial currently set for
June 16, 2015. (Filing No. 68).     As explained in the motion, the defendant needs
additional time to appeal the findings and recommendation on his motion to suppress, to
make travel arrangements, and to prepare for trial. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Freddy Hernandez Jr.’s motion to continue, (Filing No. 68), is
             granted.

      2)     Defendant Freddy Hernandez Jr.’s objection to the findings and
             recommendation on his motion to suppress, (Filing No. 64), shall be filed
             on or before June 22, 2015.

      3)     As to both defendants, the trial of this case is set to commence before the
             Honorable John M. Gerrard, United States District Judge, in Courtroom 1,
             United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on August 17,
             2015, or as soon thereafter as the case may be called, for a duration of five
             (5) trial days. Jury selection will be held at commencement of trial.

      4)     Based upon the showing set forth in the defendant Freddy Hernandez Jr.’s
             motion and the representations of counsel, the Court further finds that the
             ends of justice will be served by continuing the trial; and that the purposes
             served by continuing the trial date in this case outweigh the interest of the
             defendant and the public in a speedy trial. Accordingly, as to both
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          defendants, the additional time arising as a result of the granting of the
          motion, the time between today’s date and August 17, 2015, shall be
          deemed excludable time in any computation of time under the requirements
          of the Speedy Trial Act, because despite counsel’s due diligence, additional
          time is needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7).


          June 2, 2015.
                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge




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